Exhibit F
        MA SOC Filing Number: 201976562260                         Date: 3/6/2019 8:27:00 AM




                             The Commonwealth of Massachusetts                                            Minimum Fee: $100.00
                                   William Francis Galvin
                             Secretary of the Commonwealth, Corporations Division
                                        One Ashburton Place, 17th floor
                                            Boston, MA 02108-1512
                                           Telephone: (617) 727-9640

Annual Report - Professional
(General Laws, Chapter 156D, Section 16.22; 950 CMR 113.57)

Identification Number:     001168772

1. Exact name of the corporation:     TELADOC BEHAVIORAL HEALTH MASSACHUSETTS, P.C.

2. Jurisdiction of Incorporation:    State: MA        Country:

3,4. Street address of the corporation registered office in the commonwealth and the name of the registered
agent at that office:
Name:                      CORPORATION SERVICE COMPANY
No. and Street:            84 STATE ST.
City or Town:              BOSTON            State: MA           Zip: 02109        Country: USA

5. Street address of the corporation's principal office:
No. and Street:           1945 LAKEPOINTE DR.
City or Town:             LEWISVILLE               State:         TX        Zip:   75057             Country: USA

6. Provide the name and addresses of the corporation's board of directors and its president, treasurer,
secretary, and if different, its chief executive officer and chief financial officer.


                 Title                     Individual Name                                Address    (no PO Box)
                                          First, Middle, Last, Suffix              Address, City or Town, State, Zip Code
            PRESIDENT                      DR. MONIKA ROOTS
                                                                                            289 PEARL ST., #3
                                                                                      CAMBRIDGE, MA 02139 USA
            TREASURER                      DR. MONIKA ROOTS                                 289 PEARL ST., #3
                                                                                      CAMBRIDGE, MA 02139 USA
            SECRETARY                      DR. MONIKA ROOTS
                                                                                            289 PEARL ST., #3
                                                                                      CAMBRIDGE, MA 02139 USA
          VICE PRESIDENT                   DR. MONIKA ROOTS
                                                                                            289 PEARL ST., #3
                                                                                      CAMBRIDGE, MA 02139 USA
             DIRECTOR                      DR. MONIKA ROOTS
                                                                                            289 PEARL ST., #3
                                                                                      CAMBRIDGE, MA 02139 USA




7. Briefly describe the business of the corporation:

MEDICAL SERVICES

8. Capital stock of each class and series:

                             Par Value Per Share                Total Authorized by Articles                 Total Issued
      Class of Stock           Enter 0 if no Par              of Organization or Amendments                and Outstanding
                                                             Num of Shares      Total Par Value             Num of Shares
           CWP                      $0.10000                        100               $10.00                       100
9. Check here if the stock of the corporation is publicly traded:

10. Report is filed for fiscal year ending:   12/31/ 2018

11. The names and residential addresses of all shareholders, whether individuals, partners, or Business
Entities are:


                       Name                                                Address    (no PO Box)
                                                                    Address, City or Town, State, Zip Code

                DR. MONIKA ROOTS                                          289 PEARL ST., #3
                                                                       CAMBRIDGE, MA 02139 USA




I, DR. MONIKA ROOTS , its PRESIDENT

the undersigned, hereby certify, pursuant to Massachusetts General Laws, Chapter 156A, Section 18,
that the above-listed shareholders, and all the partners of a general partnership which is a shareholder
of the business entity, are duly licensed to render one or more professional services for which the
business entity was organized, or are professional business entities authorized to render such
professional services, and that a copy of this report is being sent to the appropriate regulatory board. I
hereto sign my name on this 6 Day of March, 2019.




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    RI SOS Filing Number: 201988010810                         Date: 3/1/2019 5:51:00 PM



                          State of Rhode Island and Providence Plantations                                          Fee: $50.00
                                    Office of the Secretary of State
                                             Division Of Business Services
                                                 148 W. River Street
                                             Providence RI 02904-2615
                                                   (401) 222-3040

Professional Corporation
Annual Report
Filing Period: January 1 - March 1

In accordance with R.I.G.L. 7-1.2-1501(e), each corporation failing or refusing to file its
annual report within thirty (30) days after the time prescribed by law (R.I.G.L. 7-1.2-1501
(c&d)) is subject to a penalty fee of $25.00.

 ANNUAL REPORT YEAR:         2019

 1. Corporate ID No.        001339485

 2. Name of Corporation      Teladoc Behavioral Health Rhode Island, P.C.

 3. Street Address Principal Business Office:

 No. and Street:        1945 LAKEPOINTE DRIVE
 City or Town:          LEWISVILLE                                     State: TX      Zip:   75057       Country: USA

 4. Business Phone No.

    469-458-7503

 5. State of Incorporation

    State: RI

                                                      ARTICLE III

 Enter the six digit NAICS Code that best describes the primary business conducted by the entity. Download
 the list of codes here. More information on NAICS can be found online.

    621112

 6. Brief Description of the Character of Business Conducted in Rhode Island



 BEHAVIORAL AND MENTAL HEALTH SERVICES

 7. Names and Addresses of the Officers and Directors:

   All officers and directors must be listed. If officers and/or directors have been elected, the title
   Incorporator is no longer applicable; please delete.


                Title                     Individual Name                                      Address
                                         First, Middle, Last, Suffix         Address, City or Town, State, Zip Code, Country

             DIRECTOR                     DR MONIKA ROOTS                                289 PEARL STREET #3
                                                                                     CAMBRIDGE, MA 02139 USA
            PRESIDENT                        DR. MONIKA ROOTS                        289 PEARL STREET #3
                                                                                 CAMBRIDGE, MA 02139 USA
            SECRETARY                        DR MONIKA ROOTS                         289 PEARL STREET #3
                                                                                 CAMBRIDGE, MA 02139 USA




8. Shares Authorized and Issued


                                                                                                        Total Issued
          Class of Stock                 Series of Stock         Par Value Per Share                        and
                                                                                       Total Authorized Outstanding
                                                                                           Shares         Num of
                                                                                       Number of Shares   Shares
                STK                                                    $0.0100              100.00          100


9. This report must be executed on behalf of the corporation by an authorized representative. If the
   corporation is in the hands of a receiver or trustee, this report must be executed on behalf of the
   corporation by the receiver or trustee.



Signed this 1 Day of March, 2019 at 5:53:18 PM. This electronic signature of the individual or
individuals signing this instrument constitutes the affirmation or acknowledgement of the
signatory, under penalties of perjury, that this instrument is that individual's act and deed or the
act and deed of the corporation, and that the facts stated herein are true, as of the date of the
electronic filing, in compliance with R.I. Gen. Laws § 7-1.2.

By DR. MONIKA ROOTS
  Signature of Authorized Representative of the Corporation




Form No. 630
Revised 09/07




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